Case 1:20-cr-20266-PCH Document 103 Entered on FLSD Docket 05/13/2021 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 1:20-cr-20266-HUCK/BECERRA


  UNITED STATES OF AMERICA,


  v.

  TREVANTI McLEOD,

        Defendant.
  _____________________________________/

       ORDER ADOPTING AND AFFIRMING R&R AND ADJUDICATING DEFENDANT
                                 GUILTY

         THIS MATTER came before the Court upon Magistrate Judge Jacqueline Becerra’s

  Report and Recommendation (“R&R”) on Plea of Guilty [ECF No. 89], which was entered on

  May 4, 2021. In the R&R, Judge Becerra found that the Defendant Trevanti McLeod, freely and

  voluntarily entered a plea of guilty as to Count I of the Indictment, which charges Defendant with

  conspiracy to commit money laundering, in violation of Title 18 U.S.C. §§ 1956(a)(3)(B).

         Magistrate Judge Becerra recommends that this Court accept Defendant’s guilty plea, that

  Defendant be adjudicated guilty of Count I, and that a sentencing hearing be conducted for final

  disposition of this matter. The Court has reviewed Judge Becerra’s R&R, no objections have been

  filed, and the Court has been advised that no objections will be filed. Therefore, based on a de

  novo review of the evidence presented, it is hereby

         ORDERED AND ADJUDGED that (1) Magistrate Judge Becerra’s R&R on Plea of

  Guilty is ADOPTED and AFFIRMED in its entirety; (2) the Court accepts Defendant’s plea of

  guilty, and Defendant is hereby adjudged guilty as to Count I of the Indictment; (3) a sentencing

  hearing before the Honorable Paul C. Huck is set for Wednesday, July 21, 2021 at 2:30 PM; and
Case 1:20-cr-20266-PCH Document 103 Entered on FLSD Docket 05/13/2021 Page 2 of 2




  (4) the jury trial previously set for May 24, 2021 and the calendar call previously set for May 19,

  2021 [ECF No. 62] are now cancelled.

         DONE AND ORDERED in Miami, Florida on May 12, 2021.




                                                       PAUL C. HUCK
                                                       UNITED STATES DISTRICT JUDGE

  Copies provided to:
  Magistrate Judge Jacqueline Becerra
  Counsel of record
